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                  IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA, )                      CR. NO. 07-00108 DAE (03)
                             )
                Plaintiff,   )                   ACCEPTANCE OF PLEA OF GUILTY,
      vs.                    )                   ADJUDICATION OF GUILT AND
                             )                   NOTICE
SUNG IL YO, (03)             )                   OF SENTENCING
aka “Scotty,”                )
                             )
                Defendant.   )
____________________________ )


                       ACCEPTANCE OF PLEA OF GUILTY,
                        ADJUDICATION OF GUILT AND
                           NOTICE OF SENTENCING

             Pursuant to the Report and Recommendation of the United States

Magistrate Judge, to which there has been no timely objection, the plea of guilty of

the Defendant to Counts 1, 2, 3 and 4 of the Indictment is now accepted and the

Defendant is Adjudged Guilty of such offense(s). All parties shall appear before this

Court for sentencing as directed.

             IT IS SO ORDERED.

             DATED: Honolulu, Hawaii, May 25, 2007.




                                            _____________________________
                                            David Alan Ezra
                                            United States District Judge
